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                                  UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                       JACKSONVILLE DIVISION

In re:                                                                               CASE NO.:3:19-bk-01873-JAF
RONALD ALLEN HUTCHISON and
JENNIFER ELIZABETH HUTCHISON                                                                              Chapter 13
________________________________________/

                                               CHAPTER 13 PLAN

A.       NOTICES.

Debtor1 must check one box on each line to state whether or not the Plan includes each of the following
items. If an item is checked as “Not Included,” if both boxes are checked, or if neither box is checked, the
provision will be ineffective if set out later in the Plan.

 A limit on the amount of a secured claim based on a valuation which            : Included         G Not Included
 may result in a partial payment or no payment at all to the secured
 creditor. See Sections C.5(d) and (e). A separate motion will be filed.
 Avoidance of a judicial lien or nonpossessory, nonpurchase money               : Included         G Not Included
 security interest under 11 U.S.C. § 522(f). A separate motion will be
 filed. See Section C.5(e).
 Nonstandard provisions, set out in Section E.         : Included G Not Included
NOTICE TO DEBTOR: IF YOU ELECT TO MAKE DIRECT PAYMENTS TO A SECURED
CREDITOR UNDER SECTION 5(i) OF THIS PLAN, TO SURRENDER THE SECURED CREDITOR'S
COLLATERAL UNDER SECTION 5(j), TO NOT MAKE PAYMENTS TO THE SECURED CREDITOR
UNDER SECTION 5(k), OR IF YOU DO NOT SPECIFICALLY INCLUDE PAYMENTS TO A
SECURED CREDITOR IN YOUR PLAN PAYMENTS, THE AUTOMATIC STAY DOES NOT APPLY
AND THE CREDITOR MAY TAKE ACTION TO FORECLOSE OR REPOSSESS THE COLLATERAL.

SECURED CREDITORS INCLUDE THE HOLDERS OF MORTGAGE LOANS, CAR LOANS, AND
OTHER LOANS FOR WHICH THE SECURED CREDITOR HAS A SECURITY INTEREST IN
PERSONAL OR REAL PROPERTY COLLATERAL

B.      MONTHLY PLAN PAYMENTS.
Plan payments include the Trustee’s fee of 10% and shall begin 30 days from petition filing/conversion date.
Debtor shall make payments to the Trustee for the period of 60 months. If the Trustee does not retain the full
10%, any portion not retained will be disbursed to allowed claims receiving payments under the Plan and may
cause an increased distribution to the unsecured class of creditors.

         $229.60 per month from months 1 through 60.

C.       PROPOSED DISTRIBUTIONS.


             1
              All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two
     individuals.
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        1.      ADMINISTRATIVE ATTORNEY’S FEES.

Base Fee        $3,500.00        Total Paid Prepetition $1,500.00     Balance Due $2,000.00
MMM Fee         $ N/A                   Total Paid Prepetition $________     Balance Due $________

Estimated Monitoring Fee at $25.00 (MAX) per Month.

Attorney’s Fees Payable Through Plan at $150.30 per month in months 1 - 13, then $46.10 in month 14
(subject to adjustment)

: None          2. DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A).

 Last 4 Digits of Acct. No.             Creditor                               Total Claim Amount



: None          3. PRIORITY CLAIMS (as defined in 11 U.S.C. §507.

 Last Four Digits of Acct No.            Creditor                              Total Claim Amount



        4.     TRUSTEE FEES. From each payment received from Debtor, the Trustee shall receive a fee, the
percentage of which is fixed periodically by the United States Trustee.

        5.       SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors under the Plan,
other than amounts allocated to cure arrearages, shall be deemed adequate protection payments. The Trustee shall
disburse adequate protection payments to secured creditors prior to confirmation, as soon as practicable, if the
Plan provides for payment to the secured creditor, the secured creditor has filed a proof of claim or Debtor or
Trustee has filed a proof of claim for the secured creditor under § 501(c), and no objection to the claim is pending.
If Debtor’s payments under the Plan are timely paid, payments to secured creditors under the Plan shall be
deemed contractually paid on time.

: None          (a) Claims Secured by Debtor’s Principal Residence Which Debtor Intends to Retain -
                Mortgage, HOA and Condo Association Payments, and Arrears, if any, Paid Through the
                Plan. If the Plan provides for curing prepetition arrearages on a mortgage on Debtor’s principal
                residence, Debtor will pay, in addition to all other sums due under the proposed Plan, all regular
                monthly postpetition mortgage payments to the Trustee as part of the Plan. These mortgage
                payments, which may be adjusted up or down as provided for under the loan documents, are due
                beginning the first due date after the case is filed and continuing each month thereafter. The
                Trustee shall pay the postpetition mortgage payments for Debtor’s principal residence on the
                following mortgage claims: Under 11 U.S.C. § 1328(a)(1), Debtor will not receive a discharge of
                personal liability on these claims.

 Last Four           Creditor           Collateral Address      Regular            Gap            Arrears
 Digits of Acct.                                                Monthly            Payment
 No.                                                            Payment
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: None         (b) Claims Secured by Other Real Property Which Debtor Intends to Retain - Mortgage
               Payments, HOA and Condo Association Payments, and Arrears, if any, Paid Through the
               Plan. If the Plan provides to cure prepetition arrearages on a mortgage, Debtor will pay, in
               addition to all other sums due under the proposed Plan, all regular monthly postpetition mortgage
               payments to the Trustee as part of the Plan. These mortgage payments, which may be adjusted up
               or down as provided for under the loan documents, are due beginning the first due date after the
               case is filed and continuing each month thereafter. The Trustee shall pay the postpetition
               mortgage payments on the following mortgage claims: Under 11 U.S.C. § 1328(a)(1), Debtor will
               not receive a discharge of personal liability on these claims.

 Last Four            Creditor              Collateral Address    Regular         Gap           Arrears
 Digits of Acct.                                                  Monthly         Payment
 No.                                                              Payment



: None         (c) Claims Secured by Real Property - Debtor Intends to Seek Mortgage Modification. If
               Debtor obtains a modification of the mortgage, the modified payments shall be paid through the
               Plan. Pending the resolution of a mortgage modification request, Debtor shall make the following
               adequate protection payments to the Trustee: (1) for homestead property, the lesser of 31% of
               gross monthly income of Debtor and non-filing spouse, if any (after deducting homeowners
               association fees), or the normal monthly contractual mortgage payment; or (2) for non-
               homestead, income-producing property, 75% of the gross rental income generated from the
               property. Debtor will not receive a discharge of personal liability on these claims.

 Last Four Digits of Acct        Creditor                    Collateral Address         Adequate Protection
 No.                                                                                    Payment



9 None         (d) Claims Secured by Real Property or Personal Property to Which Section 506 Valuation
               APPLIES (Strip Down). Under 11 U.S.C. § 1322 (b)(2), this provision does not apply to a claim
               secured solely by Debtor’s principal residence. A separate motion to determine secured status
               or to value the collateral must be filed. The secured portion of the claim, estimated below, shall
               be paid. Unless otherwise stated in Section E, the payment through the Plan does not include
               payments for escrowed property taxes or insurance.

 Last Four         Creditor         Collateral           Claim         Value          Payment        Interest
 Digits of                          Description/         Amount                       Through        Rate
 Acct. No.                          Address                                           Plan
 6560              W.S.             Twin mattress,       $4,062.55     $921.55        $17.82         6%
                   Badcock          wardrobe,                                         months 1 -
                   (Claim 1)        window AC                                         60
                                    unit

9 None         (e) Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11 U.S.C. § 506.
               Debtor must file a separate motion under § 522 to avoid a judicial lien or a nonpossessory,
               nonpurchase money security interest because it impairs an exemption or under § 506 to determine
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               secured status and to strip a lien.

 Last Four Digits of Acct No.        Creditor                                 Collateral Descriptions.
                                                                              Address
 1809                                Trinity Financial Services LLC           729 NE 17th Terr
                                                                              Ocala, FL
                                     Ford Motor Credit Company                729 NE 17th Terr
                                                                              Ocala, FL

: None         (f) Claims Secured by Real Property and/or Personal Property to Which Section 506
               Valuation DOES NOT APPLY Under the Final Paragraph in 11 U.S.C. § 1325(a). The
               claims listed below were either: (1) incurred within 910 days before the petition date and secured
               by a purchase money security interest in a motor vehicle acquired for the personal use of Debtor;
               or (2) incurred within one year of the petition date and secured by a purchase money security
               interest in any other thing of value. These claims will be paid in full under the Plan with interest
               at the rate stated below.

 Last Four           Creditor          Collateral              Claim              Payments          Interest
 Digits of Acct.                       Descriptions/           Amount             Through           Rate
 No.                                   Address                                    Plan



9 None         (g) Claims Secured by Real or Personal Property to be Paid with Interest Through the Plan
               under 11 U.S.C. § 1322(b)(2). The following secured claims will be paid in full under the Plan
               with interest at the rate stated below.

 Last Four           Creditor          Collateral              Claim              Payments          Interest
 Digits of Acct.                       Descriptions/           Amount             Through           Rate
 No.                                   Address                                    Plan
 0304                W.S. Badcock      Electric range          $699.38            $13.52            6%
                     (Claim 2)                                                    months 1 - 60

: None         (h) Claims Secured by Personal Property – Maintaining Regular Payments and Curing
               Arrearage, if any, with All Payments in Plan. Debtor will not receive a discharge of personal
               liability on these claims.

 Last Four Digits     Creditor                  Collateral            Regular                Arrearage
 of Acct. No.                                   Description           Contractual
                                                                      Payment



9 None         (i) Secured Claims Paid Directly by Debtor. The following secured claims are being made via
               automatic debit/draft from Debtor’s depository account and are to continue to be paid directly to
               the creditor or lessor by Debtor outside the Plan via automatic debit/draft. The automatic stay is
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                terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these
                creditors and lessors upon the filing of this Plan. Nothing herein is intended to terminate or
                abrogate Debtor’s state law contract rights. Debtor will not receive a discharge of personal
                liability on these claims.

 Last Four Digits of Acct. No.          Creditor                               Property/Collateral
 4791                                   Midland Mortgage                       729 NE 17th Terr
                                                                               Ocala, FL
 4130                                   Secretary of Housing & Urban           729 NE 17th Terr
                                        Development                            Ocala, FL

: None          (j) Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the following
                collateral/property. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a) is terminated in
                rem as to Debtor and in rem and in personam as to any codebtor as to these creditors upon the
                filing of this Plan.

 Last Four Digits of Acct. No.          Creditor                               Collateral/Property
                                                                               Description/Address



: None          (k) Secured Claims That Debtor Does Not Intend to Pay. Debtor does not intend to make
                payments to the following secured creditors. The automatic stay is terminated in rem as to Debtor
                and in rem and in personam as to any codebtor with respect to these creditors upon the filing of
                this Plan. Debtor’s state law contract rights and defenses are neither terminated nor abrogated.

 Last Four Digits of Acct. No.          Creditor                               Collateral Description/Address



         6.      LEASES / EXECUTORY CONTRACTS. As and for adequate protection, the Trustee shall
disburse payments to creditors under leases or executory contracts prior to confirmation, as soon as practicable, if
the Plan provides for payment to creditor/lessor, the creditor/lessor has filed a proof of claim or Debtor or Trustee
has filed a proof of claim for the secured creditor/lessor under § 501(c), and no objection to the claim is pending.
If Debtor’s payments under the Plan are timely paid, payments to creditors/lessors under the Plan shall be deemed
contractually paid on time.

: None          (a) Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid and
                Arrearages Cured Through the Plan. Debtor assumes the following leases/executory contracts
                and proposes the prompt cure of any prepetition arrearage as follows. If the claim of the
                lessor/creditor is not paid in full through the Plan, under 11 U.S.C. § 1328(a)(1), Debtor will not
                receive a discharge of personal liability on these claims.

 Last Four Digits       Creditor/Lessor           Description of          Regular              Arrearage and
 of Acct. No.                                     Leased Property         Contractual          Proposed Cure
                                                                          Payment
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9 None         (b) Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid
               Directly by Debtor. Debtor assumes the following lease/executory contract claims that are paid
               via automatic debit/draft from Debtor’s depository account and are to continue to be paid directly
               to the creditor or lessor by Debtor outside the Plan via automatic debit/draft. The automatic stay
               is terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these
               creditors and lessors upon the filing of this Plan. Nothing herein is intended to terminate or
               abrogate Debtor’s state law contract rights. Debtor will not receive a discharge of personal
               liability on these claims.

 Last Four Digits of Acct. No.         Creditor/Lessor                         Property/Collateral
 4301                                  AT&T Mobility                           iPad, two iPhone 8+
 0104                                  Teco - Peoples Gas                      Tankless water heater

: None         (c) Rejection of Leases/Executory Contracts and Surrender of Real or Personal Leased
               Property. Debtor rejects the following leases/executory contracts and will surrender the
               following leased real or personal property. The automatic stay is terminated in rem as to Debtor
               and in rem and in personam as to any codebtor as to these creditors and lessors upon the filing of
               this Plan.

 Last Four Digits of Acct. No.         Creditor/Lessor                         Property/Collateral to be
                                                                               Surrendered



         7.      GENERAL UNSECURED CREDITORS. General unsecured creditors with allowed claims
shall receive a pro rata share of the balance of any funds remaining after payments to the above referenced
creditors or shall otherwise be paid under a subsequent Order Confirming Plan. The estimated dividend to
unsecured creditors shall be no less than $7,018.00.

D.       GENERAL PLAN PROVISIONS.

         1.    Secured creditors, whether or not dealt with under the Plan, shall retain the liens securing such
               claims.

         2.    Payments made to any creditor shall be based upon the amount set forth in the creditor’s proof of
               claim or other amount as allowed by an Order of the Bankruptcy Court.

         3.    If Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b), property of the
               estate shall not vest in Debtor until the earlier of Debtor’s discharge or dismissal of this case,
               unless the Court orders otherwise. Property of the estate

               9       (a) shall not vest in Debtor until the earlier of Debtor’s discharge or dismissal of this
                       case, unless the Court orders otherwise, or

               :       (b) shall vest in Debtor upon confirmation of the Plan.
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        4.      The amounts listed for claims in this Plan are based upon Debtor’s best estimate and belief and/or
                the proofs of claim as filed and allowed. Unless otherwise ordered by the Court, the Trustee shall
                only pay creditors with filed and allowed proofs of claim. An allowed proof of claim will control,
                unless the Court orders otherwise.
        5.      Debtor may attach a summary or spreadsheet to provide an estimate of anticipated distributions.
                The actual distributions may vary. If the summary or spreadsheet conflicts with this Plan, the
                provisions of the Plan control prior to confirmation, after which time the Order Confirming Plan
                shall control.

        6.      Debtor shall timely file all tax returns and make all tax payments and deposits when due.
                (However, if Debtor is not required to file tax returns, Debtor shall provide the Trustee with a
                statement to that effect.) For each tax return that becomes due after the case is filed, Debtor shall
                provide a complete copy of the tax return, including business returns if Debtor owns a business,
                together with all related W-2s and Form 1099s, to the Trustee within 14 days of filing the return.
                Unless otherwise ordered, consented to by the Trustee, or ordered by the Court, Debtor shall turn
                over to the Trustee all tax refunds in addition to regular Plan payments. Debtor shall not instruct
                the Internal Revenue Service or other taxing agency to apply a refund to the following year’s tax
                liability. Debtor shall not spend any tax refund without first having obtained the Trustee’s
                consent or Court approval.

E.      NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy Procedure 3015(c).
        Note: Any nonstandard provisions of this Plan other than those set out in this section are deemed void and
        are stricken.

Secretary of Housing & Urban Development: This creditor holds a claim secured by a subordinate mortgage on
the Debtors’ homestead, which is not due and payable until July 1, 2043or upon the Debtors’ sale of the property,
whichever first occurs. Neither the Debtors or the Chapter 13 Trustee shall make any monthly payments on
account of this claim during the plan term.

Ford Motor Credit Company: The debt owed to this creditor was discharged in the Debtors’ Chapter 7 case
(Case No. 3:05-bk-06036-GLP) but no motion to avoid judgment lien was filed in that case. The Debtors have
scheduled the value of the creditor’s claim as zero and will file a motion to avoid the judgment lien pursuant to 11
U.S.C. §522.
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                                            CERTIFICATION

         By filing this document, the Attorney for Debtor, or Debtor, if not represented by an attorney,
certifies that the wording and order of the provisions in this Chapter 13 Plan are identical to those
contained in the Model Plan adopted by this Court, and that this Plan contains no additional or deleted
wording or nonstandard provisions other than any nonstandard provisions included in Section E.

SIGNATURE(S):

Debtor(s)

/s/ Ronald Allen Hutchison                            Date May 28, 2019
Ronald Allen Hutchison


/s/ Jennifer Elizabeth Hutchison                      Date May 28, 2019
Jennifer Elizabeth Hutchison

Attorney for Debtor(s)

/s/ Sharon T. Sperling                                 Dated May 28, 2019
Sharon T. Sperling
Florida Bar No. 0763489
Attorney for Debtor
P.O. Box 358000
Gainesville FL 32635-8000
(352) 371-3117
(352) 377-6324 fax
sharon@sharonsperling.com

                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the forgoing has been furnished by electronic
noticing or United States Mail to those listed below on May 28, 2019.

Douglas W. Neway, Esquire
Chapter 13 Trustee
P.O. Box 4308
Jacksonville FL 32201
court@ch13jaxfl.com, courtdailysummary@ch13jaxfl.com;mbrown@ch13jaxfl.com;filings@ch13jaxfl.com


                                                      /s/ Sharon T. Sperling
                                                      Sharon T. Sperling
